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Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF NEW YORK

Case number (if known)                                                      Chapter      11
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Franklin NYC LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  164 East 87th Street
                                  New York, NY 10128
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  New York                                                        Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




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Debtor
                                                                            2 of 6       Case number (if known)
          Franklin NYC LLC
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
                                        Chapter 9
                                          Chapter 11. Check all that apply:
                                                             Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12


9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                          Case number
                                                 District                                 When                          Case number


10. Are any bankruptcy cases
    pending or being filed by a
                                        No
    business partner or an              Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                Relationship
                                                 District                                 When                         Case number, if known




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Debtor
                                                                            3 of 6       Case number (if known)
         Franklin NYC LLC
         Name



11. Why is the case filed in     Check all that apply:
    this district?
                                       Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                        preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                       A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                  No
    real property or personal     Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                    Why does the property need immediate attention? (Check all that apply.)
                                             It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                              What is the hazard?
                                             It needs to be physically secured or protected from the weather.
                                             It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                              livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                             Other
                                            Where is the property?
                                                                             Number, Street, City, State & ZIP Code
                                            Is the property insured?
                                             No
                                             Yes. Insurance agency
                                                         Contact name
                                                         Phone



         Statistical and administrative information

13. Debtor's estimation of       .       Check one:
    available funds
                                          Funds will be available for distribution to unsecured creditors.
                                          After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of           1-49                                           1,000-5,000                               25,001-50,000
    creditors                                                                     5001-10,000                               50,001-100,000
                                  50-99
                                  100-199                                        10,001-25,000                             More than100,000
                                  200-999

15. Estimated Assets              $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                  $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                  $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                  $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities         $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                  $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                  $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                  $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion




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Debtor
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          Franklin NYC LLC
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      October 2, 2019
                                                  MM / DD / YYYY


                             X   /s/ John Yoon                                                           John Yoon
                                 Signature of authorized representative of debtor                        Printed name

                                 Title   President




18. Signature of attorney    X   /s/ A. MITCHELL GREENE                                                   Date October 2, 2019
                                 Signature of attorney for debtor                                              MM / DD / YYYY

                                 A. MITCHELL GREENE
                                 Printed name

                                 ROBINSON BROG LEINWAND GREENE GENOVESE & GLUCK P.C.
                                 Firm name

                                 875 THIRD AVENUE
                                 New York, NY 10022
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (212) 603-6300                Email address



                                 Bar number and State




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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------X

In re:                                                             Chapter 11

FRANKLIN NYC LLC,

                                    Debtor.
-------------------------------------------------------X

                                   CERTIFICATE OF RESOLUTION

         I, the undersigned, John Yoon, as the President of Franklin NYC LLC (the

“Company”), do hereby certify that at a meeting of the Company duly called and held, the

following resolutions were adopted and recorded in the Minute Book of the Company, and they

have not been modified or rescinded, and are still in full force and effect:

                            “RESOLVED, that in the judgment of the Company it is
                    desirable and in the best interest of the Company, its creditors,
                    shareholders and other interested parties, that a petition be filed by
                    the Company for relief under Chapter 11 of title 11 of the United
                    States Code (the “Bankruptcy Code”); and it is further

                            “RESOLVED, that the form of petition under Chapter 11
                    presented to this meeting is approved and adopted in all respects,
                    and that John Yoon, as the President of the Company, is authorized
                    to execute and verify a petition substantially in such form and to
                    cause the same to be filed with the United States Bankruptcy Court
                    for the Southern District of New York at such time as he shall
                    determine; and it is further

                             “RESOLVED, that John Yoon, as the President of the
                    Company, is authorized to execute and file all petitions,
                    reorganization schedules, lists and other papers and to effectuate
                    the filing of the Chapter 11 case, and, in that connection, that the
                    firm of Robinson Brog Leinwand Greene Genovese & Gluck P.C.
                    be retained and employed as legal counsel for the Company under
                    a general retainer, in addition to such special counsel as may
                    hereafter become necessary or proper with a view to the successful
                    conclusion of such Chapter 11 case.”

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         IN WITNESS WHEREOF, I have hereunto set my hand and seal of the Company this

1st day of October, 2019.

                                    Franklin NYC LLC



                                    By: /s/ John Yoon
                                       John Yoon
                                       President




{01028101.DOC;1 }                          2
